
In re Times Picayune L.L.C.; — Other; Applying for Supervisory and/or Remedial Writs, Parish of Jefferson, 24th Judicial *1058District Court Div. N, No. 547-189; to the Court of Appeal, Fifth Circuit, No. 06-C-639.
Granted. Pretermitting the merits, we find the court of appeal erred in discussing the portion of the trial court’s ruling refusing to unseal its reasons for judgment, as relator did not assign this portion of the trial court’s ruling as error in its application to the court of appeal nor did it brief the issue. Accordingly, the portion of the court of appeal’s judgment discussing the sealing of the trial court’s reasons for judgment is vacated and set aside.
